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                             UNITED STATES BANKRUPTCY COURT
                              WESTERN DISTRICT OF KENTUCKY

---------------------------------------------------------- x
In re:                                                     :
                                                           :          Chapter 11
INSIGHT TERMINAL SOLUTIONS, LLC                            :
                                                           :          Case No. 19-32231
                                             Debtor.       :
                                                           :
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                                                           :
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In re:                                                     :
                                                           :          Chapter 11
INSIGHT TERMINAL HOLDINGS, LLC                             :
                                                           :          Case No. 19-32232
                                             Debtor.       :
                                                           :
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                                                           :
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                    MOTION OF AUTUMN WIND LENDING, LLC
                    FOR ENTRY OF AN ORDER DISMISSING THE
              DEBTORS’ CHAPTER 11 CASES PURSUANT TO 11 U.S.C. § 1112

         Autumn Wind Lending, LLC (“Autumn Wind” or the “Lender”), by and through its

undersigned counsel, hereby moves for entry of an order dismissing the chapter 11 cases of

Debtors Insight Terminal Solutions, LLC (“ITS”) and Insight Terminal Holdings, LLC (“ITH”

and, together with ITS, the “Debtors”) pursuant to §1112(b) of the Bankruptcy Code, and

respectfully represents as follows:

                                     PRELIMINARY STATEMENT

         1.       The cases of these non-operating Debtors contain all of the hallmarks of a “bad

faith” filing and warrant immediate dismissal. The Debtors commenced these chapter 11 cases

for one purpose only: to frustrate the Lender from exercising its bargained-for contractual and

legal rights to the Collateral and allow the Debtors’ manager, John J. Siegel, Jr. (“Siegel”) to
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continue his efforts (in contravention of numerous agreements with the Lender) to retain control

of ITS’ rights to a sublease to develop and operate a rail terminal in Oakland, CA – a project that

has yet to even commence. Such efforts, however, are too late. The Debtors lacked authority to

file the petitions on July 17, 2019, since all the Debtors’ assets, including ITH’s ownership

interest in ITS, were affirmatively and automatically relinquished when the Debtors failed to

repay their obligations under the Loan and Security Agreement dated September 24, 2018 (the

“LSA”) and other Loan Documents1 on June 30, 2019. As a result, the chapter 11 cases must be

dismissed to allow the contractual agreements between the parties to be enforced.

         2.       The terms of the Loan Documents are clear.                       ITH expressly agreed to

automatically relinquish its rights to the Collateral (including its 100% ownership interest in ITS)

to the Lender in the event of a failure to repay all obligations by June 30, 2019. Moreover,

pursuant to the Pledge Agreement, ITH granted the Lender a security interest in 100% of the

membership interests in ITS and agreed that, upon the occurrence and during continuation of an

Event of Default, ITH’s right to exercise voting and/or consensual rights and powers over such

membership interests would cease immediately, without any notice to ITH or action by or on

behalf of the Lender or any other person, and that all such rights would become vested solely and

exclusively in the Lender, automatically and without any action by any person. Upon the

Debtors’ failure to repay their obligations on June 30, 2019, ITH’s interest in the Collateral,

including the right to vote its membership interests in ITS, were automatically terminated. ITH

did not have the necessary corporate authority to authorize ITS’ bankruptcy filing. Moreover,

both Debtors lacked authority to file under the express terms of their Operating Agreements,

which require the Lender’s consent, in its capacity as warrant holder, to any bankruptcy filing.


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    Capitalized terms used in this Preliminary Statement and not otherwise defined shall have the meanings assigned
    such terms elsewhere in this Motion or in the Loan Documents, as applicable.

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The Lender’s consent to the bankruptcy filings was neither requested nor obtained, providing

another basis for dismissal of the chapter 11 cases.2

         3.       The Loan Documents reflect the business deal struck by the parties. The Lender

conditioned the initial advance of funds upon the Debtors’ agreement to commence a process to

market and sell ITS’ right, title and interest under the Sublease absent repayment by February 15,

2019, with the payment of all proceeds from any sale to be turned over to the Lender.

Repayment did not occur on February 15, and the Debtors requested additional time to refinance

the Term Loan rather than commence a sale process. The Lender granted the request and waived

existing defaults on the condition that the parties agree that (i) the maturity date of the Term

Loan would be amended to June 30, 2019 and (ii) if repayment of all obligations under the Loan

Documents were not made in full by such date, ITH would consensually turn over the Collateral

it had pledged to the Lender (as opposed to a marketing and sale process for the Sublease as

initially agreed). Despite such concessions by the Lender induced by, among other things,

Siegel’s adamant assurances of an imminent refinancing transaction, the maturity date of June

30, 2019, passed without either a refinancing or repayment of the Term Loan.                                   The

commencement of the chapter 11 cases on July 17, 2019 failed to undo the automatic

relinquishment and disclaimer of ITH’s interest in the Collateral upon the June 30, 2019 default.

Such transfer of the Collateral already occurred, rendering the Debtors’ cases ripe for dismissal

for lack of authorization.

         4.       Even assuming the filings were properly authorized (which they were not), the

cases should be dismissed as bad faith filings. The Debtors filed these cases for the sole benefit

2
    In fact, the Debtors acknowledge such limitation and attempt, through their Corporate Resolutions authorizing
    the filings [Docket No. 2], to amend the Operating Agreements to remove this requirement in addition to several
    additional protections for the Lender to which the parties previously agreed. The Corporate Resolutions, though
    dated June 28, 2019, are ineffective since the July 17 chapter 11 filings occurred after ITH’s right to exercise
    voting and/or consensual rights and powers over such membership interests in ITS were terminated.

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and protection of Siegel without any regard for other parties in interest in these cases. The

Debtors have little or no cash or liquid assets, no true operations or revenue, and at most a

handful of employees. As a result, the Debtors plainly have no ability to service the Term Loan,

the risk of which was the precise reason for the parties’ original agreement to implement a

marketing and sale process absent repayment by February 15, 2019. The Debtors’ sole potential

asset is a sublease to develop and operate a rail terminal in the Port of Oakland in Oakland, CA.

Despite ITS, the subtenant, taking possession of the subject property nearly a year ago, the

Debtors have, upon information and belief, failed to maintain and secure the property or even to

commence development of the project, rendering it a liability at this time. Moreover, in addition

to defaulting with respect to their obligations to the Lender, the Debtors have, upon information

and belief, also failed to honor their payment obligations to the Landlord and the City of

Oakland. The Debtors’ mismanagement and complete lack of attention to the property have,

upon information and belief, resulted in theft, vandalism, and a state of disrepair. As a result, the

property and its value are deteriorating and the erosion of value will happen all the more rapidly

as long as Siegel is allowed to retain control.

       5.      Since entering the Sublease, rather than develop the property, the Debtors,

through Siegel, have instead made several agreements with the Lender to induce concessions,

each of which Siegel either failed to honor or outright violated. Further demonstrative of

Siegel’s mismanagement of the Debtors and self-dealing is the fact that, against the advice of his

advisors, he ignored several promising potential lenders and strategic partners that were ready

and able to pay off the Lender and, instead, focused his efforts entirely on reaching a deal with a

single party, which he viewed to be personally beneficial to him. Of course, this deal never

materialized and, after the June 30, 2019 payment default, the Debtors refused to honor their



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agreement in the Waiver and Amendment to turn over the Collateral and continued to seek a

refinancing transaction (ignoring a cease and desist letter issued by the Lender dated July 8,

2019). Shortly after the Lender demanded the Debtors cease their refinancing efforts, they

commenced the Chapter 11 cases.

       6.      These cases were not commenced to maximize value for the Debtors’ estates and

creditors. Nor were they commenced to reorganize a business, as there is none to reorganize.

Rather, they were commenced as a stalling tactic to allow Siegel to continue his efforts to only

benefit himself and retain the Sublease in what is essentially a two-party dispute involving

quintessential state law issues. There is no proper bankruptcy purpose served by the Debtors

seeking to forestall the exercise of the legal and contractual rights of the Lender, the Debtors’

primary creditor. The Debtors already agreed to hand over the keys to the Lender, and equity

demands that these cases be dismissed to prevent the Debtors from abusing the chapter 11

process to evade their agreed-upon obligations to the Lender and further erode the value of the

Lender’s collateral.

                                JURISDICTION AND VENUE

       7.      This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§157

and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) & (O). Venue is

proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory predicate upon

which relief is requested is section 1112(b) of the Bankruptcy Code.

                                       BACKGROUND

       8.      On July 17, 2019 (the “Petition Date”), the Debtors each filed a voluntary petition

in the Bankruptcy Court for the Western District of Kentucky (the “Court”) for relief under

chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”).



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       9.      The Debtors continue to operate their businesses and manage their assets as

debtors in possession pursuant to sections 1107 and 1108 of the Bankruptcy Code. No trustee or

examiner has been appointed in these cases to date.

       A.      The Debtors and the Sublease

       10.     ITS is a non-operating business with a single potential asset – a sublease for

undeveloped real property. Specifically, ITS is the subtenant under that certain Army Base

Gateway Redevelopment Project Sub-Ground Lease for West Gateway by and between Oakland

Bulk and Oversized Terminal, LLC (the “Landlord”) and ITS dated as of September 2018

(together with all exhibits, amendments, schedules and annexes thereto, the “Sublease”). See

Declaration of Vikas Tandon In Support of Motion of Autumn Wind Lending, LLC for Entry of

an Order Dismissing the Debtors’ Chapter 11 Cases Pursuant to 11 U.S.C. § 1112 dated July 25,

2019 [DE # 12] (the “Tandon Declaration”) at ¶ 3.

       11.     The real property leased under the Sublease is a 19 acre parcel in the Port of

Oakland, a port and ship facility located in Oakland, California. The property, a portion of the

Port of Oakland known as the West Gateway, is an undeveloped parcel that ITS subleases from

the Landlord in order to develop and operate a ship-to-rail terminal for the purposes of exporting

bulk goods and importing oversized cargo (the “Bulk and Oversized Terminal”). Id. at ¶ 4.

       12.     The Sublease is ITS’ sole potential asset and, upon information and belief, ITS

has yet to commence development of the Bulk and Oversized Terminal nor is such development

expected to commence in the near term. Id. at ¶ 5.

       13.     Prior to ITH’s relinquishment of the Collateral after the Maturity Default (as

defined herein), ITH owned 100% of the membership interests of ITS and, upon information and

belief, such ownership interest was ITH’s sole asset. Id. at ¶ 6. Upon information and belief, as



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of the Petition Date, ITH has no assets, since it relinquished its rights to all Collateral (as defined

in the LSA), including its interest in the Pledged Equity (as defined herein). Id.

         B.      September 2018 Loan and Security Documents

         14.     Under the LSA dated September 24, 2018, among ITS as borrower, ITH as

guarantor, and the Lender, the Lender extended a senior secured term loan facility to ITS in a

principal amount up to $6,800,000.00 (the “Initial Term Loan”). A true and correct copy of the

LSA is attached to the Tandon Declaration as Exhibit A. The Initial Term Loan was evidenced

pursuant to that certain Promissory Note dated September 24, 2018 in the amount of

$6,800,000.00. Id. at ¶ 7.

         15.     In connection with entry into the LSA, the Lender requested and ITS executed

and delivered a side letter between the Lender and ITS dated September 24, 2018 (the “ITS Side

Letter”). A true and correct copy of the ITS Side Letter is attached to the Tandon Declaration as

Exhibit B. In it, ITS agreed, among other things, that in the event ITS failed to repay all

obligations under the LSA and all ancillary and related documents, instruments and agreements

(collectively, the “Loan Documents”)3 on or before February 15, 2019, ITS would, on the next

business day, “commence a process to market and sell, on a best efforts basis, all of its right, title

and interest under and to the [Sublease]” and that “all Net Cash Proceeds received by the

Borrower from a sale of the Borrower’s right, title and interest under and to the [Sublease] shall,

within three (3) Business Days of the receipt of such proceeds by the Borrower, be turned over to

the Lender.” The purpose of the agreed-upon sale process was to protect the Lender from the

exact situation in which the parties find themselves today, stemming from the risk of the




3
    The Loan Documents are voluminous. True and correct copies of certain of the relevant Loan Documents are
    attached to the Tandon Declaration. Copies of any omitted documents are available upon request to the Lender.

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Debtors’ long-term inability to pay debt service. Thus, the ITS Side Letter was a material

inducement for the Lender to enter into the LSA. Id. at ¶ 8-9.

         16.      Pursuant to the LSA and the Pledge Agreement dated September 24, 2018 (the

“Pledge Agreement”)4, the Debtors granted the Lender a first priority lien upon and security

interest in all of the Debtors’ tangible and intangible property and proceeds thereof (as defined in

the LSA, the “Collateral”). See LSA at § 4. The Collateral expressly includes all rights under

the Sublease and all outstanding membership interests of ITS, as well as all general intangibles

related to such membership interests (the “Pledged Equity”). Pursuant to the Pledge Agreement,

ITH pledged to the Lender the Pledged Equity along with all of its rights, privileges, authority

and powers related thereto. See Pledge Agreement §2.1(a).

         17.      In addition, ITH delivered to the Lender Certificate No. 1 evidencing the

ownership of 100 membership units of ITS by ITH and a Blocked Account Control Agreement

dated February 5, 2019 (the “BACA”) over that certain depository account number xxxx7132 of

ITS with Central Bank & Trust Co. Tandon Declaration at ¶ 11.

         18.      As additional consideration to induce the Lender to extend the Initial Term Loan,

ITH granted the Lender the right to purchase up to 10% of the membership interests in ITH

(“Warrant 1”). Id. at ¶ 12.

         19.      In connection with entry into the Initial Term Loan, ITS also executed and

delivered that certain Unsecured Promissory Note dated September 24, 2018 in the principal

amount of $3,400,000.00 (the “Initial Unsecured Note”). Id. at ¶ 13.

         20.      The original maturity date of the Initial Term Loan and Initial Unsecured Note

was December 31, 2019. Id. at ¶ 14.


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    A true and correct copy of the Pledge Agreement is attached to the Tandon Declaration as Exhibit C.

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       21.     Additionally, at the Lender’s request, the Landlord and ITS executed and

delivered a side letter agreement dated September 24, 2018, (the “Landlord Side Letter”), by

which the Landlord agreed, among other things, that in the event ITS commenced a marketing

process for the Sublease pursuant to the ITS Side Letter, Landlord would cooperate with ITS in

such process, including, without limitation, by providing ITS a list of all previous expressions of

interest or proposals received from third parties with respect to acting as a lessee under the

Sublease. Id. at ¶ 15.

       C.      December 2018 First Amendment

       22.     Despite the Debtors’ failure to commence development of the Bulk and Oversized

Terminal, at the request of the Debtors, on December 19, 2018, ITS, ITH, and Lender agreed to

amend the LSA pursuant to that certain First Amendment to Loan and Security Agreement (the

“First Amendment”). Id. at ¶ 16.

       23.     Pursuant to the First Amendment, the Lender agreed to make an additional term

loan to ITS in the amount of $300,000.00 (the “Additional Term Loan” and, together with the

Initial Term Loan, the “Term Loan”). The Term Loan was evidenced by that certain Amended

and Restated Promissory Note dated December 19, 2018 and executed by ITS in favor of Lender

in the amount of $7,100,000.00 (the “A&R Term Note”). In connection with the extension of the

Additional Term Loan, ITS executed and delivered that certain Amended and Restated

Unsecured Promissory Note dated December 19, 2018 by which the Initial Unsecured Note was

increased to $3,550,000 (the “A&R Unsecured Note” and, together with the Initial Unsecured

Note, the “Unsecured Note). Id. at ¶ 17.

       24.     To provide assurance to the Lender that there would be sufficient liquidity for the

Debtors to make the interest payments that would be owing to the Lender under the LSA, Siegel,



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in his capacity as ITS’ manager, executed and delivered a side letter agreement dated December

19, 2018 (the “Siegel Side Letter”), by which Siegel agreed, among other things, to deposit cash

or marketable securities with an aggregate value of at least $500,000.00 into an account or

accounts in his control. In addition, Siegel agreed that his failure to maintain a $500,000.00

minimum balance in such accounts would constitute an event of default under the LSA. Id. at ¶

18.

       D.      February 2019 Security Documents and Waiver and Amendment

       25.     On February 16, 2019, the Debtors were again in default under the terms of the

Loan Documents when ITS failed to (i) repay its obligations under the Term Loan on or before

February 15, 2019, and (ii) commence a sale process. Id. at ¶ 19. Notwithstanding its agreement

in the ITS Side Letter to commence a process to market and sell its interest in the Sublease in the

event all obligations under the Loan Documents were not repaid by that date, Siegel informed the

Lender that he wished to seek a refinancing transaction in lieu of marketing the Sublease for sale

as ITS initially agreed. Id. at ¶ 20. Siegel further assured the Lender that the Debtors would be

able to achieve a refinancing that would repay the Lender in full by no later than June 30, 2019;

in fact, Mr. Siegel insisted repayment would take place much sooner, and the Waiver and

Amendment (as defined herein) included a schedule to repurchase Warrant 2 (as defined herein)

with escalating repurchase prices at the end of each month, reflecting Mr. Siegel’s confidence in

a timely refinancing. Id. In the spirit of cooperation with the Debtors, the Lender agreed to

grant the Debtors until June 30, 2019 to achieve a refinancing transaction as requested. Id. at ¶

21. Consequently, the Debtors and the Lender negotiated the terms and entered into that certain

Waiver and Amendment Agreement dated February 22, 2019 (the “Waiver and Amendment”).

A true and correct copy of the Waiver and Amendment is attached to the Tandon Declaration as



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Exhibit D. Pursuant to the Waiver and Amendment, the Lender agreed to waive certain Events

of Default and remove the requirement for a marketing process and, in exchange therefor, ITS

and ITH agreed, among other things, as follows:

       (a)    ITS agreed to amend the maturity date of the Term Loan from December 31, 2019
              to June 30, 2019;
       (b)    ITH agreed “[i]f the Obligations due under the Loan are not paid in full on or
              before June 30, 2019 and Lender elects not to grant any extensions to the
              Borrower of the Maturity Date, Guarantor shall relinquish its rights to the
              Collateral as described in the Loan Agreement” (emphasis added);
       (c)    ITS and ITH each agreed to amend its respective organizational documents so that
              neither would be permitted to either (i) file for bankruptcy protection under the
              Bankruptcy Code or (ii) dissolve, in each case, unless ITS or ITH, as applicable,
              has first obtained the prior written consent of (a) all holders of membership
              interests in ITH, and (b) all holders of warrants exercisable for interests in ITH;
       (d)    ITS agreed to continue making regularly scheduled interest payments; and
       (e)    ITH agreed to grant Lender additional warrants.

       26.    ITS and ITH amended their respective operating agreements in accordance with

the requirements of the Waiver and Amendment.          True and correct copies of the Second

Amended and Restated Operating Agreement of ITS and the Amended and Restated Operating

Agreement of ITH, each dated February 22, 2019, are attached as Exhibits E and F,

respectively, to the Tandon Declaration (collectively, the “Operating Agreements”).          The

provisions updated in accordance with the terms of the Waiver and Amendment are reflected in

Section 8.1 of the respective Second Amended and Restated Operating Agreements.

       27.    Further, pursuant to the Waiver and Amendment, ITH granted the Lender an

additional warrant granting Lender the right to purchase up to an additional 5% of the

membership interests in ITH (“Warrant 2”).        Tandon Declaration at ¶ 23.     Reflecting the

Debtors’ bullishness on the ability to refinance the obligations quickly, the Debtors negotiated




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into the Waiver and Amendment the right to repurchase 80% of Warrant 2 at prices that

escalated each month. See Waiver and Amendment at § 7. Id.

       E.      Maturity Default and ITH’s Relinquishment of the Pledged Equity

       28.     Aware of the need to refinance and the impact of the Debtors’ failure to repay the

Term Loan by June 30, 2019, upon information and belief, the Debtors, through Siegel and

against the advice of his advisors, ignored several promising potential lenders and strategic

partners that were ready and able to pay off the Lender. Id. at ¶ 24. Instead, the Debtors focused

their efforts entirely on reaching a deal with a single party, which Siegel viewed to be personally

beneficial to him. Id.

       29.     Despite Siegel’s representations that a refinancing transaction was imminent as

recently as late-June 2019 (see id. at ¶ 25), no such refinancing occurred. In fact, no written

proposal or commitment letter was ever provided to the Lender. Id.

       30.     On May 1, 2019, ITS failed to make its regularly scheduled interest payment on

the Term Loan when due. Id. at ¶ 26.

       31.     ITS failed to achieve a refinancing transaction by June 30, 2019. Id. at ¶ 27. As a

result, ITS failed to repay the Term Loan by the June 30, 2019 maturity date, constituting an

Event of Default under the Loan Documents (the “Maturity Default”). See LSA at § 12.1(a). In

accordance with ITH’s agreement in the Waiver and Amendment, ITH automatically

relinquished its rights in the Collateral, including in the Pledged Equity, as of July 1, 2019.

Accordingly, ITH no longer had the right or capacity to authorize the bankruptcy filing of ITS

as of July 1, 2019.

       32.     As of the date hereof, all obligations under the Loan Documents, including but

not limited to principal, accrued and unpaid interest thereon, and any and all other Obligations



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(as defined in the LSA), are fully due and payable. As of July 1, 2019, ITS owes Lender not less

than $9,121,181.80, consisting of principal, accrued and unpaid interest, and other fees under the

Term Loan plus $3,550,000.00 pursuant to the Unsecured Note. Id. at ¶ 28.

       33.      On July 2, 2019, Lender delivered that certain Notice of Retention of Collateral

in Full Satisfaction of Obligations (the “Strict Foreclosure Notice”) putting ITS and its creditors

on notice that as a result of the Maturity Default, ITH’s rights in the Collateral were waived and

Lender intended to retain the Collateral in full satisfaction of the obligations under the LSA. A

true and correct copy of the Strict Foreclosure Notice is attached to the Tandon Declaration as

Exhibit G.

       34.     On or about July 7, 2019, Lender became aware that, notwithstanding the

Debtors’ agreements in the Waiver and Amendment, the Maturity Default and the Strict

Foreclosure Notice, the Debtors were continuing their efforts to pursue a refinancing transaction.

Id. at ¶ 30. Accordingly, on July 8, 2019, Lender delivered to ITS that certain Notice to Cease

and Desist Regarding Refinancing Attempts in Connection with Lender’s Collateral (the “Cease

and Desist Letter”). By the Cease and Desist Letter, Lender reiterated that ITH waived and

relinquished its rights in the Collateral and demanded that Debtors and Siegel immediately cease

any and all efforts to seek a refinancing transaction. Id.

       35.     Furthermore, on July 8, 2019, the Lender received notification from the Landlord

that, in addition to the Maturity Default with respect to the Term Loan, ITS failed to (i) make

payments owed to the Landlord and (ii) pay taxes owed to the City of Oakland, including failing

to appear at an administrative hearing on July 1, 2019 with respect to such taxes. Id. at ¶ 31 The

Landlord’s notification further delineated multiple failures by ITS to maintain and secure the

property in violation of the Sublease, resulting in theft, vandalism, and the property falling into



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disrepair. A true and correct copy of the Landlord’s correspondence is attached to the Tandon

Declaration as Exhibit H.

       F.      The Debtors Commence these Chapter 11 Cases

       36.     On July 17, 2019, the Debtors commenced the Chapter 11 Cases. The Corporate

Resolutions filed for each of the Debtors in support of the bankruptcy filings are deficient.

       37.     ITS’ Corporate Resolution [Docket No. 2] authorizing its bankruptcy filing is

claimed to solely originate from ITH’s purported authority as the sole member of ITS. ITH’s

Corporate Resolution [Docket No. 2] authorizing its bankruptcy filing is claimed to solely

originate from Sharon A. Siegel, ITH’s sole member and John Siegel as Manager.

       38.     ITH, however, automatically lost the right to vote the Collateral upon the Maturity

Default on June 30, 2019, since it affirmatively relinquished its rights to the Collateral.

       39.     Both the Corporate Resolutions fail to conform with the Operating Agreements as

neither the Lender nor any Warrant Holder authorized the filing of these chapter 11 cases.

                                           ARGUMENT

  I.   Cause Exists to Dismiss These Cases Pursuant to 11 U.S.C. § 1112(b)

       40.     Courts are afforded broad discretion under section 1112(b) to dispose of a chapter

11 case for “cause”. Section 1112(b)(1) provides in pertinent part:


       [O]n request of a party in interest, and after notice and a hearing, absent unusual
       circumstances specifically identified by the court that establishes that the
       requested conversion or dismissal is not in the best interests of creditors and the
       estate, the court shall convert a case under this chapter to a case under chapter 7
       or dismiss a case under this chapter, whichever is in the best interests of creditors
       and the estate, if the movant establishes cause.

Id. (emphasis added).

       41.     Section 1112(b)(4) sets forth a non-exhaustive list of factors that illustrate

examples of cause. Not all of the enumerated factors need to be present in order to establish

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“cause,” and, “the Court may dismiss a Chapter 11 case for reasons other than those specified in

section 1112(b) so long as those reasons satisfy ‘cause.’” In re TCR of Denver, LLC, 338 B.R.

494, 500 (Bankr. D. Colo. 2006). For at least two, independently-sufficient reasons, “cause”

exists to dismiss this case.

        A.      The Debtors Lacked Corporate Authority to File the Petitions

        42.     The Debtors’ chapter 11 cases must be dismissed because they were unauthorized.

        43.     First, ITS’ petition must be dismissed because ITH lacked any authority to

authorize the filing of ITS’ petition. The Pledge Agreement is clear: during an Event of Default,

ITH’s right to exercise voting and/or consensual rights and powers over the Pledged Equity

ceases immediately and all such rights automatically vest solely and exclusively in the Lender.

See Pledge Agreement § 2.2(c). There can be no dispute that ITS failed to repay its obligations

on the June 30, 2019 maturity date.        Upon the Maturity Default, ITH’s right to vote its

membership interest in ITS was automatically terminated and such right automatically vested in

the Lender. More importantly, the Maturity Default triggered the surrender of all of ITH’s rights

to the Collateral, not just its voting rights. When the Debtors negotiated for additional time to

refinance the Term Loan in the Waiver and Amendment, ITH agreed that “[i]f the Obligations

due under the Loan are not paid in full on or before June 30, 2019 and Lender elects not to grant

any extensions to the Borrower of the Maturity Date, Guarantor shall relinquish its rights to the

Collateral as described in the Loan Agreement.” Consequently, as of July 1, 2019, ITH no

longer owned nor had any rights to the equity ownership of ITS.

        44.     The Lender’s steps to comply with UCC sections 9-620 and 9-621 by delivering

the Strict Foreclosure Notice to ITS and its creditors were taken for purposes of exercising its

economic rights to the Collateral and to put other parties with interest in the Collateral on notice



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of the Lender’s rights in the Collateral, as required by the UCC, in order to effectively cleanse

any third party claims against the Collateral. ITH’s actual waiver of its voting rights and

disclaiming of its interests, however, took effect immediately upon the Maturity Default. As a

result, ITH now lacks authority to take any action on behalf of ITS, let alone commence a

bankruptcy proceeding, because it cannot take actions on Collateral in which it affirmatively

disclaimed any interest. Accordingly, ITS’ chapter 11 petition must be dismissed.

       45.     Furthermore, assuming ITH retained its voting membership interest in ITS (which

it did not), both ITH and ITS lacked authority to file these chapter 11 cases under their respective

Operating Agreements. “Determining authority is a question of state law, and in the case of a

limited liability company is governed by the operating agreement, which defines the rights of

members.” In re FKF Madison Park Grp. Owner, LLC, 2011 WL 350306, at *3 (Bankr. D. Del.

Jan. 31, 2011). The Operating Agreements are governed by the Delaware Limited Liability

Company Act, which “give[s] the maximum effect to the principle of freedom of contract and to

the enforceability of limited liability company agreements.” Del. Code Ann. tit. 6, § 18-1101(b).

       46.     Here, the Debtors’ authority to file for bankruptcy protection is expressly

governed by the Operating Agreements. Section 8.1 of the Operating Agreements, which are

identical in substance, plainly and expressly preclude the filing of a bankruptcy petition without

the prior written consent of all holders of warrants in ITH.          Specifically, the Operating

Agreements provide as follows:

       Notwithstanding anything to the contrary in this Agreement, the Company shall
       not, and the Manager shall not cause or allow the Company to, (i) file for
       bankruptcy protection as defined under the United States Bankruptcy Code Title
       11 United States Code or (ii) dissolve, in each case, unless the Company has first
       obtained the prior written consent of (y) all holders of Class A Units and Class B
       Units in Insight Terminal Holdings, LLC, and (z) all holders of warrants
       exercisable for Class B Units in Insight Terminal Holdings, LLC.



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See ITS Operating Agreement at § 8.1; see also ITH Operating Agreement at § 8.1 (providing

the same). The Lender holds warrants in Debtor ITH and, thus, its prior written consent was

required for both of the Debtors to obtain authority to file for bankruptcy protection.                      The

Lender’s consent was never sought nor given and, thus, the petitions must be dismissed for lack

of authority.5

         47.     The Lender is aware of precedent in the Eastern District of Kentucky whereby

that bankruptcy court, on public policy grounds, declined to enforce provisions of an operating

agreement similar to the provisions in these cases. See In re Lexington Hosp. Grp., LLC, 577

B.R. 676, 684 (Bankr. E.D. Ky. 2017). The Lender respectfully submits such decision is not

binding on this Court and is not aware of any decision holding similarly that is binding on this

Court.

         48.     Moreover, even if the Court is inclined to follow such decision, the additional

grounds raised herein warrant dismissal.             It was precisely the Lender’s awareness of this

precedent and its suspicions that the Debtors would once again renege on a business deal that

prompted the Lender to request inclusion of the clause providing that ITH automatically disclaim

its rights to the Collateral upon a Maturity Default, in an effort to leave no ambiguity on the

nature and terms of the agreed-upon business deal.

         B.      The Petitions Must be Dismissed as Bad Faith Filings

         49.     Even if the Court finds that the Debtors’ petitions were authorized (which they

were not), the Court should still dismiss these cases because the Debtors filed the petitions in bad

faith. The Sixth Circuit Court of Appeals has identified eight (8) factors, none of which is

dispositive, that may be probative of an organizational debtor's lack of good faith:

5
    As discussed herein, the Debtors attempted to rid themselves of these obligations through their Corporate
    Resolutions authorizing the filings by purporting to amend the Operating Agreements to remove this requirement
    in addition to several additional protections for the Lender that were previously agreed to.

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       (1) the debtor has one asset;

       (2) the pre-petition conduct of the debtor has been improper;

       (3) there are only a few unsecured creditors;

       (4) the debtor’s property has been posted for foreclosure, and the debtor has been
       unsuccessful in defending against the foreclosure in state court;

       (5) the debtor and one creditor have proceeded to a standstill in state court
       litigation, and the debtor has lost or has been required to post a bond which it
       cannot afford;

       (6) the filing of the petition effectively allows the debtor to evade court orders;

       (7) the debtor has no ongoing business or employees; and

       (8) the lack of possibility of reorganization.

In re Four Wells Ltd., 2016 WL 1445393, at *11 (B.A.P. 6th Cir. Apr. 12, 2016) (citing In re

Trident Assocs. Ltd. P'ship, 52 F.3d 127, 130 (6th Cir. 1995)).

       50.     The Debtors’ cases satisfy nearly every one of these factors. First, ITS’ sole

potential asset is the Sublease. As of July 1, 2019, ITH holds no assets and, even prior to its

relinquishment of its voting interest in ITS, such interest was its only asset. Even given a

generous assumption that ITH continues to own voting rights in ITS, these cases bear the

hallmarks of a bad faith filing commenced by what are essentially debtors with a single, non-

operational asset. “Bad faith is commonly found in single asset cases involving debtors with no

current business operations to reorganize.” In re Platte River Bottom, LLC, 2016 WL 241464, at

*9 (Bankr. D. Colo. Jan. 19, 2016).

       51.     Second, prior to the Petition Date, the Debtors acted improperly, by, among other

things, (i) ITS shirking numerous responsibilities to maintain and secure the property; (ii) ITH

failing to relinquish its voting rights in the Pledged Equity despite its prior agreement that, in the

event of a Maturity Default, ITH’s voting rights over the Pledged Collateral were waived; (iii)

failing to seek Autumn Wind’s consent, both in its capacity as the Lender and as a Warrant

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holder, to the commencement of these cases in accordance with the Operating Agreements; (iv)

failing to make payments owed to the Landlord and the City of Oakland as required by the

Sublease; and (v) filing these cases without the Lender’s consent despite their explicit

agreements not to do so without proper authority under the Operating Agreements. The Debtors

attempted to rid themselves of these obligations through their Corporate Resolutions authorizing

the filings by purporting to amend the Operating Agreements to remove this requirement in

addition to several additional protections for the Lender that were previously agreed to.6 The

Debtors’ filing of these cases despite their agreement not to do so without the consent of all

warrant holders and their last minute attempt to strip the Lender of its consent right are just the

latest instances of many in which the Debtors reneged on a deal with the Lender and is probative

of their bad faith. If the Debtors are allowed to proceed with these cases, and Siegel retains

control of the Debtors, his improper conduct and gross mismanagement will only continue to the

detriment of the Lender, the value of its Collateral, and other creditors.

         52.     Third, there are very few unsecured creditors in these cases. ITS lists only 11

creditors, several of which are attorneys or other professionals, and ITH only names the Lender.

Furthermore, a review of ITS’ list demonstrates that the Lender is by far the largest creditor in

these cases. Courts recognize the small number of unsecured creditors as a “recurring” pattern in

bad faith cases. Matter of Little Creek Dev. Co., 779 F.2d 1068, 1073 (5th Cir. 1986). In a single

asset real estate case with large secured claims, a bad faith finding is appropriate where

“unsecured debt is owed primarily to accountants and attorneys of the debtor whose claims are

relatively small.” In re RAD Props., Inc., 84 B.R. 827, 830 (M.D. Fla. Bankr. 1988).



6
    The Corporate Resolutions, though dated June 28, 2019,are ineffective since the Petition Date occurred after
    ITH’s right to exercise voting and/or consensual rights and powers over such membership interests in ITS were
    terminated.

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       53.     Fourth, while ITH’s rights in the Pledged Equity were automatically relinquished

upon the Maturity Default, the Lender sent the Debtors a Strict Foreclosure Notice to commence

foreclosure and realize the economic value of the Collateral, the blocking of which was the

Debtors’ sole motivation for commencing these cases. Courts have repeatedly recognized that

the Bankruptcy Code should not be used as a litigation tactic to resolve what is “essentially a two

party dispute capable of prompt adjudication in state court.” In re St. Paul Self Storage Ltd.

P’ship, 185 B.R. 580, 583 (B.A.P. 9th Cir. 1995); see also In re 15375 Mem. Corp., 400 B.R.

420, 427 (D. Del. 2009) (finding bad faith where “Debtors’ primary objective in filing the

petitions was to gain a tactical advantage in litigation”); see also In re Nursery Land Dev., Inc.,

91 F.3d 1414, 1415-1416 (10th Cir. 1996) (finding bad faith where single asset real estate debtor

filed bankruptcy petition “the day before the scheduled foreclosure”).

       54.     Fifth, the Debtors have no true ongoing business and few employees. As stated

herein and in the Tandon Declaration, the Debtors have yet to commence development of the

Bulk and Oversized Terminal, nor is such development expected to commence in the near term.

The Debtors have never carried on any business nor employed more than one or two persons in

addition to Siegel, its manager. This is plainly not an ongoing business, nor can ITS demonstrate

any viable prospects of conducting business in the near term.

       55.     Finally, the Debtors cannot demonstrate a possibility of reorganizing their

businesses, as there are no businesses to reorganize. ITH has waived its rights to exercise voting

or other rights with respect to the Pledged Equity, which is its sole asset. ITS, as stated above, is

not conducting business. As in In re Platte River Bottom, ITS “has no intention of rehabilitating

an existing business because no business exists.” 2016 WL 241464, at *11. The Debtors’ lack of

operations – and indeed their lack of effort to even attempt a reorganization – is highlighted by



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the fact that, despite filing for bankruptcy on July 17, 2019, the Debtors have not filed first day

motions seeking the Court’s authority to continue honoring any obligations in the ordinary

course of their businesses, because there are none.7 The Debtors’ use of chapter 11 as a sword to

obtain a tactical advantage in their efforts to further shirk their agreements, in this case to turn

over the Collateral to which ITH waived its rights, is an abuse of the chapter 11 process that the

good faith requirement is designed to prevent. Courts have long recognized that the protections

offered to a debtor by the Bankruptcy Code were intended as shield and not a sword. See Shell

Oil Co., v. Waldron (In re Waldron), 785 F.2d 936, 940 (11th Cir. 1986) (citation omitted) (“The

bankruptcy laws were simply not intended to be used as a sword by the rapacious.”); Braniff Int’l

Airlines, Inc. v. Aeron Aviation Resources Holdings II, Inc. (In re Braniff Int’l Airlines, Inc.),

159 B.R. 117, 125 (E.D.N.Y. 1993) (“The protections for the debtor under the Bankruptcy Code

operate as a shield, not a sword.”).

                                      RESERVATION OF RIGHTS

         56.      The Lender reserves its rights to further address the Motion and any other

ancillary issues and to respond to any objection of any party, either by further submissions to this

Court, at oral argument or by testimony to be presented at any hearing.



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7
    By their inaction, the Debtors implicitly acknowledge their inability to reorganize because they are not taking
    any steps towards effecting any such reorganization.

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       WHEREFORE, the Lender respectfully requests that the Court grant the Motion and

enter an Order dismissing the Debtors’ chapter 11 petitions and take such other actions as the

Court may deem appropriate.

                                                  /s/ Edward M. King
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                                   CERTIFICATE OF SERVICE

        I hereby certify that on this 25th day of July, 2019, I electronically filed the foregoing
with the Clerk of the Court by using the CM/ECF system, which will serve notice on all parties
registered to receive notice in this case.



                                                     /s/ Edward M. King
                                                     COUNSEL FOR            AUTUMN         WIND
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